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6

7

8                     IN THE UNITED STATES DISTRICT COURT

9                IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,         )   Case No. Cr.S 11-190 MCE
                                       )
12               Plaintiff,            )   STIPULATION TO CONTINUE STATUS
                                       )   AND FOR CHANGE OF PLEA
13        vs.                          )
                                       )   ORDER
14   NICHOLAS RAMIREZ,                 )
                                       )
15               Defendant             )
                                       )
16                                     )

17
                                   STIPULATION
18
          Plaintiff United States of America, by and through its
19
     counsel of record, and the defendant’s herein, by and through
20
     their counsel of record, hereby stipulates as follows:
21

22        By previous order, this matter was set for status on May

23   17, 2018.

24        By this stipulation, defendants now move to continue the

25   status conference until May 24, 2018 and to exclude time between




                                        -1-
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1    May 17, 2018, and May 24, 2018 under Local Code T4. Plaintiff
2    agrees with this request.
3
          Counsel for defendants desire additional time to review
4
     additional documents and to consult with his client in an effort
5
     to resolve this case.
6
          The government agrees to the continuance.
7
          Based on the above-stated findings, the ends of justice
8
     served by continuing the case as requested outweigh the interest
9
     of the public and the defendant in a trial within the original
10
     date prescribed by the Speedy Trial Act.
11

12
          For the purpose of computing time under the Speedy Trial

13   Act, 18 U.S.C. § 3161, et seq., within which trial must

14   commence, the time period of May 17, 2018, to May 24, 2018,

15   inclusive, is deemed excludable pursuant to 18 U.S.C.§

16   3161(h)(7)(A), B(iv) [Local Code T4] because it results from a
17   continuance granted by the Court at defendant’s request on the
18   basis of the Court's finding that the ends of justice served by
19
     taking such action outweigh the best interest of the public and
20
     the defendant in a speedy trial pursuant to 18 U.S.C. § 3161(h).
21

22

23

24

25




                                        -2-
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1         Nothing in this stipulation and order shall preclude a
2    finding that other provisions of the Speedy Trial Act dictate
3
     that additional time periods are excludable from the period
4
     within which a trial must commence.
5

6
     DATED: May 13, 2018                         Respectfully submitted
7

8
                                                 /S/MICHAEL B. BIGELOW
9                                                Michael B. Bigelow
                                                 Attorney for Nicholas Ramirez
10

11   IT IS SO STIPULATED
12

13
     /S/ JASON HITT
     Jason Hitt, Esq.,                               Dated: May 13, 2018
14   Assistant United States Attorney
     Attorney for Plaintiff
15

16
     /S/MICHAEL B. BIGELOW                           Dated: May 13, 2018
17   Michael B. Bigelow
     Attorney for Defendant
18   Nicholas Ramirez
19
                                           ORDER
20

21
          IT IS SO ORDERED.

22   Dated:     May 15, 2018

23

24

25




                                           -3-
